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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                      CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                       Defendant.

_______________________________/

     REPLY TO UNITED STATES OPPOSITION TO DEFENDANT’S MOTION FOR
                   REVOCATION OF DETENTION ORDER

       COMES NOW, Defendant, Enrique Tarrio (hereinafter referred to as “Tarrio”), by and

through undersigned counsel and requests this Honorable Court to revoke the detention order

entered by United States Magistrate Judge on March 17, 2022 and place him on pretrial release

pursuant to the recommendations of the Pretrial Services Report: release to a third-party custodian,

home incarceration and location monitoring. This Reply is drafted in Response to Government’s

Opposition to Defendant’s Request [D.E. 350]:

       The Government relies on the Honorable Magistrate Judge Lauren Louis’s findings as a

basis for their argument, but simultaneously agrees that this Court should review Magistrate Judge

Louis’s decision under the de novo standard, reviewing the decision anew as if there were no

Magistrate findings. Additionally, the Government’s reliance on United States v. Munchel, No21-

3010 (D.C. Cir. Mar. 26, 2021) is unsubstantiated in this case as the facts from Munchel are entirely

inconsistent with the facts related to Tarrio. Tarrio was not in the District of Columbia on January

6, 2021, was not inside the U.S. Capitol, and did not bring any weapons to the Capitol, unlike the

facts described in Munchel.




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       The Government alleged in their Response [D.E. 350] multiple points which are all

unfounded based on a more thorough review of the evidence: Defendant Tarrio Organized,

Directed, and Admitted Responsibility for the MOSD’s (“Ministry of Self Defense”) Attack on

the Capitol (pg. 3, ¶2),Defendant Tarrio Continued to Plan and Carry out an Attack on the Capitol

While [h]e was on Supervised Release for Crimes Committed in Washington, D.C. (pg.4, ¶4), and

Tarrio Recognized that his communications were Incriminating (pg.6, ¶2); Defendant Tarrio

Presents an Ongoing Threat to the Safety of the Community (pg.7, ¶2).

       1. Tarrio DID NOT Organize, Direct and/or Admit Responsibility for the MOSD’s

           Attack on the Capitol.

              The Government presents statements in support of their claim that Tarrio organized

           and directed the attack on the Capitol before January 6, 2021, as follows:

              a. Pg.3 ¶4 statements by MOSD members (not Tarrio), to wit “time to stack those

                  bodies in front of Capitol Hill;” “what would they do [if] 1 million patriots

                  stormed and took the capital building. Shoot the crowd? I think not;” “They

                  would do nothing because they can do nothing.”

              b. The Government presents a single solitary statement from Tarrio before January

                  6, 2021. Pg. 4 ¶1 “I didn’t hear this voice note until now, you want to storm the

                  Capitol.” However, punctuation matters. The Grand Jury Transcript contains

                  this exact statement as a question with a question mark, not a statement with a

                  period.

              The Government claims that Tarrio admitted responsibility for the organization and

           direction of the January 6 attack by his social media posts and statements during the

           January 6 events. Pg. 4 ¶2,3: “…I’m enjoying the show;” “Don’t fucking leave;”

           “Proud of My Boys and my country;” and “Do it again.”



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     However, the Government has failed to show one iota of evidence to support their

 claim that he organized and directed the attack on the Capitol. Tarrio’s listed statements

 made after the entry on the Capitol were similar to many sentiments being shared across

 social media and national news which does not equate to organization, direction and

 responsibility for the attack.

     Further, the Government’s claim that Tarrio was unrepentant regarding his case

 reference the Black Lives Matter Rally on December 12, 2020, is absurd and

 inflammatory in nature. In fact, his actions in that case bolster the Defense’s position.

 There, Tarrio admitted his wrongdoing, traveled to Washington D.C. by plane knowing

 that he would be arrested, and self-surrendered to the authorities to serve his sentence.

 All his actions demonstrate his willingness to cooperate with the authorities and appear

 before the Court as ordered.

     The Government alleges that the Defense double downs on their argument by

 stating that the message groups amongst MOSD did not mention any type of planned

 violence at the Capitol or anywhere else. Quite frankly, after a thorough review of the

 discovery, the Defense’s argument stands. The true purpose of the creation of MOSD,

 unlike what the Government would like to portray, was to prevent a repeat of the

 December 12, 2020, stabbings of various members, including Tarrio; ensure that

 members would remain unharmed, and prevent violent confrontations with other

 groups.




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2. Tarrio NEVER STARTED nor Continued to Plan and Carry out an Attack on the

   Capitol While He was on Supervised Release for Crimes Committed in

   Washington, D.C.

             The Government’s allegations stem from videos shot by a documentary

      crew on the night of January 5, 2021, after Tarrio had been released from custody.

      After a complete review of the videos, the Government’s argument is frivolous at

      best. A complete presentation of the video shows Tarrio meeting a young lady in

      front of the Phoenix Hotel where he intended on receiving information regarding a

      potential attorney to represent him on the state case. When told by an officer to

      move his vehicle, the production crew that is with him proceeds to escort Tarrio

      into the parking garage to obtain the information of the attorney. One of the videos

      shows Tarrio in the same production crew vehicle as a passenger driving through

      the parking garage, and he states, “I simply need to talk to her, this guy has a good

      attorney…”). There is no mention of meeting up with Oath Keepers Elmer Stewart

      Rhodes III and there is no showing that he discussed anything with Mr. Rhodes.

      Additionally, he was told to leave D.C. by 11:59pm January 5, 2021, which he

      complied with. There is no conversation in any of the videos provided regarding

      anything on January 6, 2021, inside or outside of that parking garage. The Court

      should review the evidence in its entirety, making an independent finding, and not

      rely on the conclusionary finding that the Honorable Judge Louis made.




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3. Tarrio DID NOT Recognize that his Communications were Incriminating as there

   were no incriminating communications.

              Again, this argument is unfounded as the Government has been able to

      obtain all the information which Tarrio had on his phone and there is no

      incriminating evidence. In order to substantiate this claim, the Government would

      need to show that Tarrio intended to hide or obstruct the Government from their

      fact finding. No such evidence exists. Hence, Tarrio has not been charged with

      Obstruction.

4. Tarrio DOES NOT present an ongoing threat to the Safety of the Community.

      Since January 6, 2021, Tarrio has made public his criticisms of the actions

   committed by the various members of the public for what transpired on January 6,

   2021. In the days and weeks following January 6, more and more information came to

   light about what happened on the Capitol. Only seven weeks after January 6 and more

   than a year before being indicted, Tarrio openly stated on national television that the

   individuals that went into the Capitol committed a crime and that they were wrong in

   doing so, See Proud Boys Has no Sympathy for Law Makers Targeted by Capitol Riot,

   CNN (Feb. 25, 2021), available at https://www.cnn.com/2021/02/25/politics/capitol-

   riot-proud-boys-enrique-tarrio-soh/index.html.

      Further, Tarrio has had many months since January 6, 2021, to commit a crime,

   evade the jurisdiction of the Court, organize or plan an illegal activity, but he has not

   done so. There is no showing that Tarrio has committed any type of wrongdoing. Any

   argument by the Government to the contrary would be false. Tarrio was not detained

   for over a year and did nothing to endanger the safety of the community. Releasing

   him to home confinement, albeit with conditions imposed by this Court, would be more



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   than sufficient to address the Government’s concerns and ensure Tarrio’s presence at

   all court hearings.



5. There are conditions or any combination of conditions that will reasonably assure

   Tarrio’s presence in court and/or the safety of any other person in the community

      The Court should consider the following factors that greatly outweigh detaining

   Tarrio until trial. First, Tarrio has historically and consistently complied with Court

   orders on previous occasions. Tarrio has never violated the conditions of his bond on

   prior occasions. Second, Tarrio has significant ties to community. A courtroom full of

   family and friends supported him, which Magistrate Judge Louis acknowledged were

   present in court. These numerous individuals are willing to pledge themselves as surety

   on Tarrio’s bond, including their property that is worth more than one million

   ($1,000,000.00) dollars. The pretrial services report compiled by Pretrial Services

   agreed that a personal surety bond was sufficient to reasonably assure the Court of

   Tarrio’s presence.

      The recommendations by Undersigned and Tarrio include home confinement under

   twenty-four (24) lockdown with travel restricted to District of Columbia for court

   hearings, GPS monitoring, and restriction from using social media. Additionally, Tarrio

   would agree not to use any computer, tablet, smart phone, or any device that could

   allow internet access. Also, it should be noted that Counsel lives and works in South

   Florida. The Court noted the difficulty in communicating with Tarrio at its last hearing

   on May 2, 2022 (Discovery Conference). By the court permitting him to remain on

   home confinement in South Florida, it would enable better, faster and more efficient

   attorney-client communication and preparation for trial. For the better part of three (3)



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           weeks, Undersigned has communicated with the Government the inability to

           adequately communicate with Tarrio. Every time Undersigned has attempted set up a

           non-monitored call with Tarrio, he has been relocated multiple times with no set

           destination. It has been impossible for the Defense to review discovery with him, and

           with the voluminous discovery received so far (and more coming), it would be

           improbable for the Defense to adequately review discovery with Tarrio if he is in

           custody in any final location. To date, the locations have included Miami, Tallahassee,

           Atlanta, Oklahoma, NNDJ, and his last location as of April 15, 2022.

       6. CONCLUSION

       For the foregoing reasons, Tarrio respectfully requests that he be placed on pretrial release

with conditions of home incarceration and GPS monitoring. Tarrio agrees to abide by all conditions

imposed by this Honorable Court.



                                             Respectfully submitted,

                                             /s/ Nayib Hassan
                                             _____________________________
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                              CERTICICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

noticed through the CM/ECF system to the US Attorney’s Office on this 4th day of May 2022 to

the following:

       Jason McCollough
       Luke Jones
       Erik Kenerson

                                          Respectfully submitted,

                                          /s/ Nayib Hassan
                                          _____________________________
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